      Case 8:17-cv-00278-CJC-DFM Document 1 Filed 02/15/17 Page 1 of 12 Page ID #:1



 1   Douglas A. Linde, SBN 217584 (dal@lindelaw.net)
 2   Erica Allen Gonzales, SBN 234922 (eag@lindelaw.net)
     THE LINDE LAW FIRM
 3
     9000 Sunset Boulevard, Ste. 1260
 4   Los Angeles, California 90069
 5
     (310) 203-9333; (310) 203-9233 FAX

 6

 7   Attorneys for Plaintiff
     FERMIN VINCENT VALENZUELA
 8

 9

10
                               UNITED STATES DISTRICT COURT

11
              CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
12

13
     FERMIN VINCENT VALENZUELA                )        Civil Action No.:
                                              )
14
                  Plaintiff,                  )
15         vs.                                )        COMPLAINT FOR CIVIL RIGHTS
                                              )        VIOLATION [42 U.S.C. § 1983]
16
     CITY OF ANAHEIM; ANAHEIM POLICE )
17   DEPARTMENT; RAUL QUEZADA,                )
18
     individually and as Chief of Police;     )        DEMAND FOR JURY TRIAL
     DANIEL WOLFE, WOOJIN JUN and             )
19   DOES 1 through 10, individually and as a )
20   peace officers, inclusive,               )
                                              )
21
                  Defendants.                 )
22                                            )
23

24
           Plaintiff FERMIN VINCENT VALENZUELA alleges against defendants CITY OF

25   ANAHEIM, ANAHEIM POLICE DEPARTMENT, RAUL QUEZADA, individually and
26
     as Chief of Police, DANIEL WOLFE, WOOJIN JUN, and DOES 1 through 10, individually
27

28   and as a peace officers, inclusive, as follows:


                                                   -1-
                                             COMPLAINT
      Case 8:17-cv-00278-CJC-DFM Document 1 Filed 02/15/17 Page 2 of 12 Page ID #:2



 1                                  JURISDICTION AND VENUE
 2
           1.      This civil action is brought for the redress of alleged deprivations of
 3

 4   constitutional rights as protected by 42 U.S.C. §§ 1983, 1988, and the Fourth and
 5
     Fourteenth Amendments of the United States Constitution. Jurisdiction is founded on 28
 6

 7   U.S.C. §§ 1331, 1343, and 1367.
 8
           2.      Venue is proper in this Court under 28 U.S.C. § 1391(b), because defendants
 9

10
     reside in, and all incidents, events, and occurrences giving rise to this action occurred in, the

11   County of Orange, California.
12

13

14                                              PARTIES
15
           3.      At all relevant times, Plaintiff, FERMIN VINCENT VALENZUELA, was an
16

17   individual residing in County of Orange, California, and father of Fermin Vincent
18
     Valenzuela, II.
19
           4.      At all times herein mentioned, Defendant CITY OF ANAHEIM was and is a
20

21   public entity duly organized and existing as such under the laws of and in the State of
22
     California.
23

24         5.      Defendant ANAHEIM POLICE DEPARTMENT is an agency of Defendant
25
     CITY OF ANAHEIM and Defendant CITY OF ANAHEIM is a "person" subject to suit
26

27
     within the meaning of 42 U.S.C. § 1983 under Monell v. Dept. of Social Services, (1978)

28   436 U.S. 658, 691. Under California Government Code § 815.2(a), Defendant CITY OF


                                                   -2-
                                              COMPLAINT
      Case 8:17-cv-00278-CJC-DFM Document 1 Filed 02/15/17 Page 3 of 12 Page ID #:3



 1   ANAHEIM is liable for any and all wrongful acts hereinafter complained of committed by
 2
     any of the individual officer defendants.
 3

 4         6.     Plaintiff is informed and believes and on that basis alleges that Defendant
 5
     RAUL QUEZADA is the Police Chief of the ANAHEIM POLICE DEPARTMENT, an
 6

 7   agency of the CITY OF ANAHEIM. Plaintiff is informed and believes and on that basis
 8
     alleges that Defendant RAUL QUEZADA is a policy-maker, responsible for implementing,
 9

10
     maintaining, sanctioning, or condoning policies, customs and/or practices under which other

11   defendants committed the illegal or wrongful acts hereinafter complained of. By reason of
12
     these policies, practices and/or customs, Defendant RAUL QUEZADA is liable for the
13

14   damages hereinafter complained of. Plaintiff sues Defendant RAUL QUEZADA in both his
15
     official capacity as Chief of Police and his personal capacity.
16

17
           7.     Plaintiff is informed and believes and on that basis alleges that Defendant
18
     DANIEL WOLFE was, at all relevant times, a resident of the County of Orange, State of
19
     California; and was, at all relevant times, a police officer, acting within his course and scope
20

21   of his employment with ANAHEIM POLICE DEPARTMENT, an agency of the CITY OF
22
     ANAHEIM.
23

24         8.     Plaintiff is informed and believes and on that basis alleges that Defendant
25
     WOOJIN JUN was, at all relevant times, a resident of the County of Orange, State of
26

27
     California; and was, at all relevant times, a police officer, acting within his course and scope

28




                                                  -3-
                                             COMPLAINT
      Case 8:17-cv-00278-CJC-DFM Document 1 Filed 02/15/17 Page 4 of 12 Page ID #:4



 1   of his employment with ANAHEIM POLICE DEPARTMENT, an agency of the CITY OF
 2
     ANAHEIM.
 3

 4         9.     Plaintiff is informed and believes and thereon alleges that each of the
 5
     defendants designated as a DOE is intentionally and negligently responsible in some
 6

 7   manner for the events and happenings herein referred to, and thereby proximately caused
 8
     injuries and damages as herein alleged. The true names and capacities of DOES 1 through
 9

10
     10, inclusive, and each of them, are not now known to plaintiffs who therefore sue said

11   defendants by such fictitious names, and plaintiffs will seek leave to amend this complaint
12
     to show their true names and capacities when the same are ascertained.
13

14

15
                      FACTS COMMON TO ALL CLAIMS FOR RELIEF
16

17
           10.    Plaintiff refers to and repleads each and every allegation contained in this
18
     Complaint, and by this reference incorporates the same herein and makes each a part hereof.
19
           11.    The incidents complained of occurred near the intersection of Broadway and
20

21   Magnolia Avenue in the city of Anaheim, State of California.
22
           12.    On July 2, 2016, at approximately 9:15 a.m., while on duty and on patrol the
23

24   defendants DANIEL WOLFE and WOOJIN JUN and DOES 1-10 encountered Fermin
25
     Vincent Valenzuela, II, at or near the intersection of Broadway and Magnolia Avenue in the
26

27
     city of Anaheim, State of California.

28




                                                  -4-
                                             COMPLAINT
      Case 8:17-cv-00278-CJC-DFM Document 1 Filed 02/15/17 Page 5 of 12 Page ID #:5



 1
           13.   On information and belief, Fermin Vincent Valenzuela, II had not committed
 2
     any crime. Defendants DANIEL WOLFE, WOOJIN JUN, and DOES 1-10, inclusive, had
 3

 4   neither reasonable suspicion to detain him, nor probable cause to arrest him. On information
 5
     and belief, Defendants DANIEL WOLFE, WOOJIN JUN, ANAHEIM POLICE
 6

 7   DEPARTMENT and DOES 1-10 had no information that he had committed a felony.
 8
           14.   At all relevant times, Fermin Vincent Valenzuela, II was unarmed and posed
 9

10
     no imminent threat of death or serious physical injury to either defendants DANIEL

11   WOLFE, WOOJIN JUN, and DOES 1-10, inclusive nor to any other person.
12
           15.   On July 2, 2016, Defendant DANIEL WOLFE never saw Fermin Vincent
13

14   Valenzuela, II, holding a weapon.
15
           16.   On July 2, 2016, Defendant WOOJIN JUN never saw Fermin Vincent
16

17   Valenzuela, II, holding a weapon.
18
           17.   Defendants DANIEL WOLFE, WOOJIN JUN, and DOES 1-10, inclusive,
19
     under color of authority, used excessive force upon Fermin Vincent Valenzuela, II with
20

21   their batons, hands, elbows, fists, knees and a Taser gun. Defendants also deployed their
22
     Taser guns, several times, at Fermin Vincent Valenzuela, II – striking him several times.
23

24         18.   Even though Fermin Vincent Valenzuela, II could have been restrained with
25
     the use of less than lethal control holds and handcuffs, the defendants DANIEL WOLFE,
26

27
     WOOJIN JUN, and DOES 1-10, inclusive, used deadly force by beating Fermin Vincent

28   Valenzuela, II with their batons, hands, elbows, fists, knees and a Taser gun. Defendants


                                                 -5-
                                            COMPLAINT
      Case 8:17-cv-00278-CJC-DFM Document 1 Filed 02/15/17 Page 6 of 12 Page ID #:6



 1   also deployed their Taser guns, several times, at Fermin Vincent Valenzuela, II – striking
 2
     him several times.
 3

 4         19.   Interactions between Fermin Vincent Valenzuela, II and Defendants DANIEL
 5
     WOLFE and WOOJIN JUN were recorded on video.
 6

 7         20.   Interactions between Fermin Vincent Valenzuela, II and Defendants DANIEL
 8
     WOLFE and WOOJIN JUN were recorded on Defendant Officer DANIEL WOLFE’s body
 9

10
     camera.

11         21.   Interactions between Fermin Vincent Valenzuela, II and Defendants DANIEL
12
     WOLFE and WOOJIN JUN were recorded on Defendant Officer WOOJIN JUN’s body
13

14   camera.
15
           22.   Interactions between Fermin Vincent Valenzuela, II and Defendants DANIEL
16

17   WOLFE and WOOJIN JUN were recorded on audio.
18
           23.   As a direct result of the physical altercation with defendants DANIEL WOLFE
19
     and WOOJIN JUN alleged herein, Fermin Vincent Valenzuela, II, died.
20

21         24.   Defendants actions caused Fermin Vincent Valenzuela, II to lose his life, and
22
     Plaintiff FERMIN VINCENT VALENZUELA to lose his son.
23

24         25.   The search and seizure and the use of deadly force was excessive and
25
     objectively unreasonable under the circumstances. Given that Fermin Vincent Valenzuela,
26

27
     II had not committed a crime was unarmed and given the nature and extent of the force
28   used, the use of deadly force by defendants DANIEL WOLFE, WOOJIN JUN, and DOES


                                                 -6-
                                            COMPLAINT
      Case 8:17-cv-00278-CJC-DFM Document 1 Filed 02/15/17 Page 7 of 12 Page ID #:7



 1   1-10 demonstrated a deliberate indifference to the health and safety of Fermin Vincent
 2
     Valenzuela, II that shocks the conscience.
 3

 4         26.    In doing the acts and omissions alleged in this Complaint, defendants pursued
 5
     an unprivileged course of extreme and outrageous conduct directed at Fermin Vincent
 6

 7   Valenzuela, II, with the intent to cause Fermin Vincent Valenzuela, II to suffer extreme
 8
     terror, fear, shock, anxiety, mental anguish, despair and emotional distress. Defendants
 9

10
     actions shock the conscience. Defendants committed these outrageous acts and omissions

11   with the intent to terrorize Fermin Vincent Valenzuela, II, and place him in fear for his life
12
     and to experience other very highly unpleasant emotions.
13

14         27.    Defendants DANIEL WOLFE, WOOJIN JUN, and DOES 1-10, were present
15
     at the scene and intentionally and knowingly permitted the unprovoked and unjustified
16

17
     killing of Fermin Vincent Valenzuela, II by failing to prevent it when circumstances were
18
     such that they could.
19
           28.    Defendants DANIEL WOLFE, WOOJIN JUN, and DOES 1-10, inclusive, then
20

21   conspired among themselves to justify their bad faith excessive use of force and hide the
22
     true cause of Fermin Vincent Valenzuela, II’s death.
23

24         29.    The aforesaid acts and omissions of defendants were done knowingly,
25
     intentionally and for the purpose of depriving Plaintiff and Fermin Vincent Valenzuela, II of
26

27
     their constitutional rights in reckless and callous disregard of the same, and by reason

28




                                                  -7-
                                             COMPLAINT
      Case 8:17-cv-00278-CJC-DFM Document 1 Filed 02/15/17 Page 8 of 12 Page ID #:8



 1   thereof, plaintiffs claim exemplary and punitive damages against each individual defendant
 2
     in an amount according to proof.
 3

 4

 5
                                   FIRST CLAIM FOR RELIEF
 6

 7                          (Substantive Due Process – 42 U.S.C. § 1983)
 8
        [Against defendants DANIEL WOLFE, WOOJIN JUN, and DOES 1 through 10,
 9
                             individually and as peace officer, inclusive]
10

11         30.    Plaintiff refers to and repleads each and every allegation contained in this
12
     Complaint, and by this reference incorporates the same herein and makes each a part hereof.
13

14         31.    All actions alleged in this Complaint undertaken by Officer DANIEL WOLFE
15
     were undertaken under color of state law.
16

17         32.    All actions alleged in this Complaint undertaken by Officer WOOJIN JUN
18
     were undertaken under color of state law.
19
           33.    Fermin Vincent Valenzuela, II had a cognizable interest under the Fourth
20

21   Amendment to be free from an unreasonable search of his person, an unreasonable seizure
22
     of his person, and to be free from the use of excessive force.
23

24         34.    Plaintiff FERMIN VINCENT VALENZUELA had a constitutionally protected
25
     liberty interest in the companionship and society of Fermin Vincent Valenzuela, II.
26

27
           35.    As a direct and legal result of the unreasonable search and seizure and

28   excessive force by defendants DANIEL WOLFE, WOOJIN JUN and DOES 1-10


                                                  -8-
                                             COMPLAINT
       Case 8:17-cv-00278-CJC-DFM Document 1 Filed 02/15/17 Page 9 of 12 Page ID #:9



 1   individually and as peace officer, inclusive, and their failure to intervene, as alleged
 2
     elsewhere herein, Fermin Vincent Valenzuela, II died. Plaintiff FERMIN VINCENT
 3

 4   VALENZUELA was thereby deprived of his constitutional right of familial relationship
 5
     with his son Fermin Vincent Valenzuela, II.
 6

 7         36.    The conduct of Defendants DANIEL WOLFE, WOOJIN JUN and DOES 1-10
 8
     individually and as peace officer, inclusive, violated Fermin Vincent Valenzuela, II’s
 9

10
     interest under the Fourth Amendment of the United States Constitution to be free from an

11   unreasonable search of his person, an unreasonable seizure of his person, and to be free
12
     from the use of excessive force.
13

14         37.    The conduct of Defendants DANIEL WOLFE, WOOJIN JUN and DOES 1-10,
15
     as alleged herein, to use lethal force in the course of detaining and arresting an unarmed
16

17
     man, shocked the conscience and violated Plaintiff FERMIN VINCENT VALENZUELA’s
18
     constitutionally protected liberty interest in the companionship and society of Fermin
19
     Vincent Valenzuela, II.
20

21   ///
22
     ///
23

24   ///
25

26

27

28




                                                   -9-
                                             COMPLAINT
     Case 8:17-cv-00278-CJC-DFM Document 1 Filed 02/15/17 Page 10 of 12 Page ID #:10



 1                                SECOND CLAIM FOR RELIEF
 2
                           (Custom, Policy & Practice – 42 U.S.C. § 1983)
 3

 4     [Against Defendants CITY OF ANAHEIM, ANAHEIM POLICE DEPARTMENT,
 5
      RAUL QUEZADA, individually and as Police Chief, DOES 1 through 10, inclusive]
 6

 7         38.    Plaintiff refers to and repleads each and every allegation contained in this
 8
     Complaint, and by this reference incorporates the same herein and makes each a part hereof.
 9

10
           39.    Plaintiffs are informed and believe and thereon allege that at the time of the

11   incident alleged above, as well as prior and subsequent thereto, the police officer training
12
     and policies of Defendants CITY OF ANAHEIM, ANAHEIM POLICE DEPARTMENT
13

14   Chief of Police RAUL QUEZADA, and DOES 1-10, inclusive, to detain and arrest unarmed
15
     suspects were not adequate to prevent use of excessive force and were inadequate to handle
16

17
     the usual and recurring situations with which Defendants CITY OF ANAHEIM,
18
     ANAHEIM POLICE DEPARTMENT Chief of Police RAUL QUEZADA, and DOES 1-10,
19
     police officers must deal;
20

21         40.    Plaintiffs are informed and believe and thereon allege that prior to the incident
22
     alleged above, the Defendants CITY OF ANAHEIM, ANAHEIM POLICE
23

24   DEPARTMENT Chief of Police RAUL QUEZADA, and DOES 1-10, knew from, among
25
     other things, the “Kelly Thomas” incident, that its police officer training and polices
26

27
     regarding the use of force to detain and arrest unarmed suspects was inadequate and led to

28   constitutional injury, physical injury and death.


                                                  - 10 -
                                             COMPLAINT
     Case 8:17-cv-00278-CJC-DFM Document 1 Filed 02/15/17 Page 11 of 12 Page ID #:11



 1
           41.    The Defendants CITY OF ANAHEIM, ANAHEIM POLICE DEPARTMENT
 2
     Chief of Police RAUL QUEZADA, and DOES 1-10, were deliberately indifferent to the
 3

 4   substantial risk that their policies were inadequate to prevent violations of law by their
 5
     police officers and deliberately indifferent to the obvious consequences of their failure to
 6

 7   train their police officers adequately.
 8
           42.    The failure of Defendants CITY OF ANAHEIM, ANAHEIM POLICE
 9

10
     DEPARTMENT Chief of Police RAUL QUEZADA, and DOES 1-10, to prevent violations

11   of law by its employees, to provide adequate training, and to establish adequate policies,
12
     caused the deprivation of the plaintiff’s rights by the Defendants CITY OF ANAHEIM,
13

14   ANAHEIM POLICE DEPARTMENT Chief of Police RAUL QUEZADA, and DOES 1-10,
15
     police officers. That is, the defendant’s failure to prevent violations of law by its
16

17
     employees, to train and to provide adequate policies is so closely related to the deprivation
18
     of the plaintiff’s rights as to be the moving force that caused the ultimate injury.
19

20

21                                      PRAYER FOR RELIEF
22
           Plaintiff prays for judgment on all causes of action against defendants, and each of
23

24   them, as follows:
25
           1. For general damages in a sum according to proof;
26

27
           2. For special damages according to proof;

28




                                                  - 11 -
                                               COMPLAINT
     Case 8:17-cv-00278-CJC-DFM Document 1 Filed 02/15/17 Page 12 of 12 Page ID #:12



 1        3. For interest on all economic damages in the legal amount from July 2, 2016 to the
 2
             date of judgment;
 3

 4        4. For punitive damages and treble damages as provided by law against each
 5
             individual defendant;
 6

 7        5. For attorney’s fees pursuant to 42 U.S.C. § 1988;
 8
          6. For costs of suit incurred herein; and
 9
          7. For such other and further relief as the court may deem proper.
10

11

12   Dated: February 15, 2017             THE LINDE LAW FIRM
13

14
                                          By:    ___________________________________
15                                               Douglas A Linde
                                                 Erica A. Gonzales
16
                                                 Attorneys for Plaintiff
17

18

19                               DEMAND FOR JURY TRIAL
20
          Plaintiff hereby demands a trial by jury in this action pursuant to F.R.C.P. 38 and the
21

22   Seventh Amendment of the Constitution.
23
     Dated: February 15, 2017             THE LINDE LAW FIRM
24

25
                                          By:    ___________________________________
26                                               Douglas A Linde
27                                               Erica A. Gonzales
                                                 Attorneys for Plaintiff
28




                                                - 12 -
                                           COMPLAINT
